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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND

DANA M. MERCHANT
Plaintiff

Ve

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*

Civil Action No.: 1:17-cv-2146

DEPARTMENT STORES NATIONAL *
BANK, a subsidiary of Citibank, N.A.

Defendant

STIPULATION OF DISMISSAL WITH PREJUDICE

Pursuant to Fed. R. Civ. Proc., Plaintiff, Dana M. Merchant, and

Defendants, by their respective counsel, and stipulate to the dismissal of

this action with Prejudice against all Defendants, with the parties being

responsible for their own costs.

Dated: January 5, 2018

/s/ E. David Hoskins
E. David Hoskins, No. 06705

LAW OFFICES OF E. DAVID HOSKINS, LLC
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Baltimore, Maryland 21202

(410) 662-6500 (Tel.)
davidhoskins@hoskinslaw.com

SO ORDERED, on Friday, January 5,

Respectfully Submitted,

/s/ Nathan D. Adler (w/permission)
Nathan D. Adler
Neuberger Quinn Gielen Rubin & Gibber
One South St., 27th FI.
Baltimore, MD 21202
(410) 332-8517
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27018.
/s/

Marvin J. Garbis

United States District Judge
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{s/ Stephen M. DeGenaro (w/permission) /s/ Jason Christopher Reichlyn (w/

Stephen M. DeGenaro permission

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